Case 2:04-cr-20245-.]PI\/| Document 29 Filed 08/29/05 Page 1 of 3 Page|D 37

IN THE UNITED sTATEs DISTRICT coURT way
FOR THE wESTERN DISTRICT oF TENNESSEE -'- -_..._o,c,

wESTERN DIVISION 05 mg 29 AH 5. hz

CLEFK us. mem comr
oF m mims

UNITED STATES OF AMERICA Wm

Plaintiff,

V' .

blth 6&/ mé??d£!‘m/

Criminal No. gigi§q$lvll

(60~Day Continuance)

 

 

 

 

\_¢\_r`_/\_#VVVV\_¢\_/VVVVV~_/VV`_,

Defendant(s).

 

CONSEN'I` ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF 'I`IME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the September
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav. October 28, 2005, with trial to take place
on the November, 2005, rotation calendar with the time excluded
under the Speedy Trial Act through November 18, 2005. Agreed in

open court at report date this 26ch day of August, 2005.

This document entered on the docket she`eéion cg?|iance
With Hule 3: ami/or 32(b) FF{CrP on 8 2

Case 2:O4-cr-20245-.]P|\/| Document 29 Filed 08/29/05 Page 2 of 3 Page|D 38

SO ORDERED this 26th day Of August, 2005.
WQQQ
JO PHIPPS MCCALLA
ITED STATES DISTRICT JUDGE

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Ass` tant United States At orney

J/
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Counsel for Defendant(s)

   

UNITED sTATE ISTRIC COURT - WETERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 29 in
case 2:04-CR-20245 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

 

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167 N. Main St.

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Honorable J on McCalla
US DISTRICT COURT

